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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA
CRIMINAL NO. H-19-148

V.

GONZALO JOSE JORGE
MORALES-DIVO,

UNDER SEAL

DEFENDANT

DP wp Mr WO? LN LO) GN MD

PLEA AGREEMENT

The United States of America, by and through Ryan K. Patrick, United States
Attorney for the Southern District of Texas, and John P. Pearson and Robert S.
Johnson, Assistant United States Attorneys, and Sandra Moser, Acting Chief of the
Fraud Section of the Criminal Division of the United States Department of Justice
(‘Fraud Section”), and Sarah E. Edwards and Sonali D. Patel, Trial Attorneys, and
the defendant, Gonzalo Jose Jorge Morales Divo (“Defendant”), and Defendant’s
counsel, pursuant to Rule 11(c)(1)(A) and 11(c)(1)(B) of the Federal Rules of
Criminal Procedure, state that they have entered into an agreement, the terms and
conditions of which are as follows:

Defendant’s Agreement

1. Defendant agrees to plead guilty to Count One of the Information. Count

One charges Defendant with conspiracy to violate the Foreign Corrupt Practices Act

(“FCPA”), in violation of Title 18, United States Code, Section 371. Defendant, by

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entering this plea, agrees that he is waiving any right to have the facts that the law
makes essential to the punishment either charged in the Information, or proved to a

jury, or proven beyond a reasonable doubt.

Punishment Range

2. The statutory maximum penalty for a violation of Title 18, United States
Code, Section 371, is imprisonment of not more than five years and a fine of not
more than $250,000 or twice the gross gain or loss. Additionally, Defendant may
receive a term of supervised release after imprisonment of up to three years. See
Title 18, United States Code, Sections 3559(a)(4), 3571(b)(1), 3571(d), and
3583(b)(2). Defendant acknowledges and understands that if he should violate the
conditions of any period of supervised release which may be imposed as part of his
sentence, then Defendant may be imprisoned for up to two years, without credit for

time already served on the term of supervised release prior to such violation. See

Title 18, United States Code, Sections 3559(a)(4) and 3583(e)(3). Defendant
understands that he cannot have the imposition or execution of the sentence
suspended, nor is he eligible for parole.
Mandatory Special Assessment
3. Pursuant to Title 18, United States Code, Section 3013(a)(2)(A),

immediately after sentencing, Defendant will pay to the Clerk of the United States

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District Court a special assessment in the amount of one hundred dollars ($100.00)
per count of conviction. The payment will be by cashier’s check or money order,
payable to the Clerk of the United States District Court, c/o District Clerk’s Office,
P.O. Box 61010, Houston, Texas 77208, Attention: Finance.
Immigration Consequences

4. Defendant recognizes that pleading guilty may have consequences with
respect to his immigration status if he is not a citizen of the United States.
Defendant understands that if he is not a citizen of the United States, by pleading
guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant’s attorney has advised
Defendant of the potential immigration consequences resulting from Defendant’s

plea of guilty.

Cooperation

5. The parties understand this agreement carries the potential for a motion
for departure under Section 5K1.1 of the Sentencing Guidelines. Defendant
understands and agrees that whether such a motion is filed will be determined solely

by the United States through the United States Attorney for the Southern District of

Texas and the Fraud Section. Should Defendant’s cooperation, in the sole judgment

and discretion of the United States, amount to “substantial assistance,” the United

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States reserves the sole right to file a motion for departure pursuant to Section 5K1.1

of the United States Sentencing Guidelines. Defendant further agrees to persist in

the plea through sentencing, fully cooperate with the United States, and not to
oppose the forfeiture of assets contemplated in paragraph 22 of this agreement.
Defendant understands and agrees that the United States will request that sentencing
be deferred until that cooperation is complete.

6. Defendant understands and agrees that “fully cooperate,” as that term is

used herein, includes providing all information relating to any criminal activity
known to Defendant, including but not limited to violations of the Foreign Corrupt
Practices Act and any related crimes. Defendant understands that such information

includes both state and federal offenses arising therefrom. In that regard:

(a) Defendant agrees that this plea agreement binds only the United
States Attorney for the Southern District of Texas, the Fraud Section,
and Defendant; it does not bind any other United States Attorney or any
other component of the Department of Justice;

(b) Defendant agrees to testify truthfully as a witness before a grand
jury or in any other judicial or administrative proceeding when called
upon to do so by the United States. Defendant further agrees to waive
his Fifth Amendment privilege against self-incrimination for the
purpose of this agreement;

(c) Defendant agrees to voluntarily attend any interviews and
conferences as the United States may request;

(d) Defendant agrees to provide truthful, complete and accurate
information and testimony and understands any false statements made

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by the Defendant to the Grand Jury or at any court proceeding (criminal
or civil), or to a government agent or attorney, can and will be
prosecuted under the appropriate perjury, false statement, or
obstruction statutes;

(e) Defendant agrees to provide to the United States all documents
in his possession or under his control relating to all areas of inquiry and
investigation; and

(f) Should the recommended departure, if any, not meet Defendant’s

expectations, the Defendant understands that he remains bound by the

terms of this agreement and cannot, for that reason alone, withdraw his

plea.

Waiver of Appeal and Collateral Review

7. Defendant is aware that Title 28, United States Code, Section 1291, and
Title 18, United States Code, Section 3742, afford a defendant the right to appeal the
conviction and sentence imposed. Defendant is also aware that Title 28, United
States Code, Section 2255, affords the right to contest or “collaterally attack” a
conviction or sentence after the judgment of conviction and sentence has become
final. Defendant knowingly and voluntarily waives the right to appeal or

“collaterally attack” the conviction and sentence, except that Defendant does not

waive the right to raise a claim of ineffective assistance of counsel on direct appeal,

if otherwise permitted, or on collateral review in a motion under Title 28, United
States Code, Section 2255. Defendant’s knowing and voluntary waiver of the right

to appeal or collaterally attack the conviction and sentence includes waiving the right

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to raise on appeal or on collateral review any argument that (1) the statute(s) to which

the defendant is pleading guilty is unconstitutional and (2) the admitted conduct does

not fall within the scope of the statute(s). In the event Defendant files a notice of
appeal following the imposition of the sentence or later collaterally attacks his
conviction or sentence, the United States will assert its rights under this agreement
and seek specific performance of these waivers.

8. Defendant waives all defenses based on venue, speedy trial under the

Constitution and Speedy Trial Act, and the statute of limitations, in the event that (a)
Defendant’s conviction is later vacated for any reason, (b) Defendant violates any
provision of this Agreement, or (c) Defendant’s plea is later withdrawn.

9. In agreeing to these waivers, Defendant is aware that a sentence has not
yet been determined by the Court. Defendant is also aware that any estimate of the

possible sentencing range under the sentencing guidelines that he may have received

from his counsel, the United States or the Probation Office, is a prediction and not a
promise, did not induce his guilty plea, and is not binding on the United States, the
Probation Office or the Court. The United States does not make any promise or
representation concerning what sentence the defendant will receive. Defendant
further understands and agrees that the United States Sentencing Guidelines are

“effectively advisory” to the Court. See United States y. Booker, 543 U.S. 220

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(2005). Accordingly, Defendant understands that, although the Court must consult

the Sentencing Guidelines and must take them into account when sentencing
Defendant, the Court is not bound to follow the Sentencing Guidelines nor sentence
Defendant within the calculated guideline range.

10. Defendant understands and agrees that each and all waivers contained in
the Agreement are made in exchange for the concessions made by the United States
in this plea agreement.

The United States’ Agreements

11. The United States agrees to each of the following:

(a) At the time of sentencing, the United States agrees not to oppose
Defendant’s anticipated request to the Court and the United States
Probation Office that he receive a two (2) level downward adjustment
pursuant to section 3E1.1(a) of the United States Sentencing
Guidelines, should Defendant accept responsibility as contemplated by
the Sentencing Guidelines; and

(b) If Defendant qualifies for an adjustment under section 3E1.1(a)
of the United States Sentencing Guidelines, the United States agrees
not to oppose Defendant’s request for an additional one-level departure
based on the timeliness of the plea or the expeditious manner in which
Defendant provided complete information regarding his role in the
offense (if Defendant’s offense level is 16 or greater).

Agreement Binding - Southern District of Texas and Fraud Section Only

12. The United States Attorney’s Office for the Southern District of Texas

and the Fraud Section agree that they will not further criminally prosecute Defendant

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for offenses arising from conduct charged in the Information. This plea agreement
binds only the United States Attorney’s Office for the Southern District of Texas,
the Fraud Section, and Defendant. It does not bind any other United States
Attorney’s Office or any other component of the Department of Justice. The United
States Attorney’s Office for the Southern District of Texas and the Fraud Section
will bring this plea agreement and the full extent of Defendant’s cooperation to the
attention of other prosecuting offices, if requested.
United States’? Non-Waiver of Appeal

13. The United States reserves the right to carry out its responsibilities under
guidelines sentencing. Specifically, the United States reserves the right:

(a) to bring its version of the facts of this case, including its evidence

file and any investigative files, to the attention of the Probation Office

in connection with that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to
sentencing;

(c) to seek resolution of such factors or facts in conference with
Defendant’s counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with
section 6A1.2 of the United States Sentencing Guidelines and Title 18,
United States Code, Section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was
determined.

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Sentence Determination

14. Defendant is aware that the sentence will be imposed after
consideration of the United States Sentencing Guidelines and Policy
Statements, which are only advisory, as well as the provisions of Title 18,
United States Code, Section 3553(a). Defendant nonetheless acknowledges
and agrees that the Court has authority to impose any sentence up to and
including the statutory maximum set for the offenses to which Defendant
pleads guilty, and that the sentence to be imposed is within the sole discretion
of the sentencing judge after the Court has consulted the applicable
Sentencing Guidelines. Defendant understands and agrees that the parties’

positions regarding the application of the Sentencing Guidelines do not bind

the Court and that the sentence imposed is within the discretion of the
sentencing judge. If the Court should impose any sentence up to the
maximum established by statute, or should the Court order any or all of the
sentences imposed to run consecutively, Defendant cannot, for that reason
alone, withdraw a guilty plea, and will remain bound to fulfill all of the

obligations under this plea agreement.

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Rights at Trial
15. Defendant understands that by entering into this agreement, he

surrenders certain rights as provided in this plea agreement. Defendant understands

that the rights of a defendant include the following:

(a) Defendant has a right to have the United States Attorney present
the charge in the Information to a Grand Jury consisting of not less than
sixteen (16) nor more than twenty-three (23) impartial citizens, who
would hear the facts of the case as presented by the United States
Attorney and witnesses, and then return an indictment against the
defendant only iftwelve (12) or more members of the Grand Jury found
that there was probable cause to believe the defendant committed the
crime charged in the Information.

(b) If Defendant persisted in a plea of not guilty to the charge,
Defendant would have the right to a speedy jury trial with the assistance
of counsel. The trial may be conducted by a judge sitting without a
jury if Defendant, the United States, and the court all agree.

(c) At a trial, the United States would be required to present
witnesses and other evidence against Defendant. Defendant would
have the opportunity to confront those witnesses and his attorney would
be allowed to cross-examine them. In turn, Defendant could, but
would not be required to, present witnesses and other evidence on his
own behalf. If the witnesses for Defendant would not appear
voluntarily, he could require their attendance through the subpoena
power of the court; and

(d) At a trial, Defendant could rely on a privilege against self-
incrimination and decline to testify, and no inference of guilt could be
drawn from such refusal to testify. However, if Defendant desired to
do so, he could testify on his own behalf.

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Factual Basis for Guilty Plea
16. Defendant is pleading guilty because he is in fact guilty of the charge
contained in Count One of the Information. If this case were to proceed to trial, the
United States could prove each element of the offense beyond a reasonable doubt.
The following facts, among others would be offered to establish Defendant’s guilt:
Petroleos de Venezuela S.A. (together with its subsidiaries and affiliates,

“PDVSA”) was the Venezuelan state-owned and state-controlled oil company.

PDVSA was responsible for the exploration, production, refining, transportation,
and trade in energy resources in Venezuela and provided funding for other
operations of the Venezuelan government. PDVSA was an “instrumentality” of the
Venezuelan government as that term is used in the Foreign Corrupt Practices Act
(“FCPA”), Title 15, United States Code, Section 78dd-2(h)(2)(A).

At all relevant times, Defendant, a Venezuelan citizen, resided in Miami,
Florida. Defendant’s close friend and business associate, Jose Manuel
GONZALEZ Testino (“GONZALEZ”), a dual U.S. and Venezuelan citizen,
controlled multiple companies incorporated in the United States and Panama.

In approximately 2012, MORALES and GONZALEZ began working
together. MORALES invested in GONZALEZ’s companies and became a partner

in GONZALEZ’s business activities, and MORALES and GONZALEZ shared an

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office space located at 848 Brickell Avenue in Miami, Florida. MORALES and
GONZALEZ bid for contracts to supply equipment and supplies to PDVSA using
GONZALEZ’s companies. When one of the GONZALEZ’s companies won a

contract, MORALES obtained financing and provided up-front capital to purchase

the products required to fulfill the PDVSA contracts. Specifically, MORALES had
a business interest in GONZALEZ’s companies referred to as Company A,
Company B, and Company C in the Information. Company A, Company B, and
Company C (“the Companies’’) were each incorporated in both the United States and

in Panama.

MORALES and GONZALEZ agreed to pay bribes to PDVSA officials in

exchange for acts and decisions taken by the officials in their official capacity that
conferred improper business advantages on MORALES and GONZALEZ in their
business with PDVSA. These officials included Cesar David RINCON-Godoy,
who served as the General Manager of Bariven, the procurement subsidiary of
PDVSA.

For example, in exchange for bribe payments, RINCON (1) took steps to
direct contracts to GONZALEZ’s companies, including the Companies, (2) gave
GONZALEZ’s companies, including the Companies, priority over other vendors to

receive payments, and (3) awarded GONZALEZ’s companies’ contracts with

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PDVSA as contracts to be paid in United States dollars, instead of Venezuelan
bolivars.

RINCON received bribe payments from each of the Companies into two bank

accounts in the United States. Specifically, Swiss bank accounts in the names of
Companies A, B, and C wired a total of $629,000 in bribe payments to United States’
bank accounts for RINCON’s benefit between November 27, 2012 and June 3, 2013.

In addition to the bribes aid to RINCON, MORALES and GONZALEZ
agreed to pay bribes to a group of individuals known as “the group,” who controlled
PDVSA’s procurement subsidiary, Bariven. In approximately 2012, MORALES
met with Alejandro Isturiz, a member of the group, to discuss bribe payments.
ISTURIZ told MORALES that MORALES and GONZALEZ had to pay bribes to
the group. ISTURIZ provided payment instructions tt MORALES. MORALES
reported this conversation to GONZALEZ and provided GONZALEZ with the

payment instructions from ISTURIZ, and GONZALEZ replied, in sum and

substance, that he was already paying the group. MORALES also met with Luis
Carlos DE LEON, another member of the group, to discuss bribe payments. After
this meeting, MORALES told GONZALEZ about the MORALES’s conversation

with DE LEON, and GONZALEZ stated that he was paying bribes to the group.

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MORALES and GONZALEZ continued their business relationship,
including the payment of bribes to PDVSA officials, for approximately two to three
years. Between February 29, 2012 and April 23, 2014, MORALES received at least
$2,534,365.65 in wire transfers from GONZALEZ’s companies.

Breach of Plea Agreement

17. If Defendant should fail in any way to fulfill completely all of the

obligations under this plea agreement, the United States will be released from its

obligations under the plea agreement, and Defendant’s plea and sentence will stand.

If at any time Defendant retains, conceals, or disposes of assets in violation of this
plea agreement, or if Defendant knowingly withholds evidence or is otherwise not
completely truthful with the United States, then the United States may move the
Court to set aside the guilty plea and reinstate prosecution. Any information and
documents that have been disclosed by Defendant, whether prior to or subsequent to
this plea agreement, and all leads derived therefrom, will be used against Defendant
in any such prosecution.

Restitution, Forfeiture, and Fines — Generally

18. This Plea Agreement is being entered into by the United States on the
basis of Defendant’s express representation that he will make a full and complete

disclosure of all assets over which he exercises direct or indirect control, or in which

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he has any financial interest. Defendant agrees not to dispose of any assets or take
any action that would effect a transfer of property in which he has an interest, unless
Defendant obtains the prior written permission of the United States.

19. Defendant agrees to make a complete financial disclosure by truthfully
executing a sworn financial statement (Form OBD-500 or similar form) within 30
days of signing this plea agreement. Defendant agrees to authorize the release of

all financial information requested by the United States, including, but not limited

to, executing authorization forms permitting the United States to obtain tax
information, bank account records, credit histories, and social security information.
Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

20. Defendant agrees to take all steps necessary to pass clear title to
forfeitable assets to the United States and to assist fully in the collection of restitution
and fines, including, but not limited to surrendering title, executing a warranty deed,
signing a consent decree, stipulating to facts regarding the transfer of title and the
basis for the forfeiture, and signing any other documents necessary to effectuate such
transfer. Defendant also agrees to direct any banks which have custody of his assets

to deliver all funds and records of such assets to the United States.

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21. Defendant understands that forfeiture, restitution, and fines are separate

components of sentencing and are separate obligations.

Forfeiture

22. Defendant stipulates and agrees that the factual basis for his guilty plea
supports the forfeiture of proceeds he received or obtained, directly or indirectly, in
connection with the conspiracy to violate the FCPA. Because not all of the relevant
records are currently available, it is not practical at this time to determine the proper
amount of amoney judgment. Prior to sentencing, Defendant and the United States
will attempt to agree upon the money judgment amount and on any specific assets
to be forfeited. If they cannot agree, then the Court will be asked to determine the

money judgment forfeiture based on a reasonable approximation of the amount of

criminal proceeds that Defendant received as a result of the conspiracy to violate the
FCPA. Defendant stipulates and admits that one or more of the conditions set forth
in Title 21, United States Code, Section 853(p), exists.

23. Defendant agrees to waive any and all interest in any asset which is the
subject of a related administrative or judicial forfeiture proceeding, whether criminal
or civil, federal or state.

24. Defendant consents to any agreed order of forfeiture, including any

personal money judgment, becoming final as to Defendant immediately following

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its entry, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4)(A), even if it is

signed before sentencing.

25. Subject to the provisions of paragraph 7 above, Defendant waives the
right to challenge the forfeiture of property in any manner, including by direct appeal
or in a collateral proceeding.
Fines

26. Defendant understands that under the Sentencing Guidelines the Court
is permitted to order Defendant to pay a fine that is sufficient to reimburse the

government for the costs of any imprisonment or term of supervised release, if any.

Defendant agrees that any fine imposed by the Court will be due and payable
immediately, and Defendant will not attempt to avoid or delay payment. Subject to

the provisions of paragraph 7 above, Defendant waives the right to challenge the fine

in any manner, including by direct appeal or in a collateral proceeding.
Complete Agreement
27. This written plea agreement, consisting of 21 pages, including the
attached addendum of Defendant and his attorney, constitutes the complete plea

agreement between the United States, Defendant, and Defendant’s counsel. No

promises or representations have been made by the United States except as set forth

in writing in this plea agreement. Defendant acknowledges that no threats have

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been made against him and that he is pleading guilty freely and voluntarily because
he is guilty.

28. Any modification of this plea agreement must be in writing and signed
by all parties.

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2019.

Subscribed and sworn to before me on / | R [ [ / , 2019.

DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT ponace

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Deputy { United States Voune Clerk

APPROVED:

Ryan K. Patrick
United States Attorney

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. Pearson
Fed ert S. Johnson
Assistant United States Attorneys
Southern District of Texas
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Sandra Moser
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AL. KAM

Stephen Binhak, Andrew Kaufman, Roberto Martinez, and Curt Miner
Attorneys for Defendant

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA
v. CRIMINAL NO. H-19-148
GONZALO JOSE JORGE UNDER SEAL

MORALES-DIVO,

DEFENDANT

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PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending

Information. These rights and the Information and Plea Agreement have been
explained to Defendant in Spanish. I have reviewed the provisions of the United
States Sentencing Commission’s Guidelines Manual and Policy Statements and I
have fully and carefully explained to Defendant the provisions of those Guidelines
which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up
to the maximum allowed by statute per count of conviction. Further, I have
carefully reviewed every part of this plea agreement with Defendant. To my

knowledge, Defendant’s decision to enter into this agreement is an informed and

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voluntary one.

<A. Lane ZN

Stephen Binhak, Andrew Kaufman,
Roberto Martinez, and Curt Miner
Attorneys for Defendant

tl ts

Date |

I have consulted with my attorney and fully understand all my rights with

respect to the Information pending against me.

My attorney has fully explained,

and I understand, all my rights with respect to the provisions of the United States

Sentencing Commission’s Guidelines Manual which may apply in my case. I have

read and carefully reviewed every part of this plea agreement with my attorney. I

understand this agreementand I volunt

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arily agree to its terms.

Gonzalo J ose Jorge Moralés' woe
Defendant

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4/1 [2015

Date
